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                               Kasell Law Firm
                                                                                 October 23, 2024

   Magistrate Judge Sanket J. Bulsara
   United States District Court
   Eastern District of New York
   225 Cadman Plaza East
   Courtroom 13C South
   Brooklyn, New York 11201

           Re:      Scheduling Dispositive Motions in Kevin Pollack v. Jodie Gordon and
                    Fusion Models BK LLC, No. 23 Civ. 02376 (E.D.N.Y.) (SJB)

   Judge Bulsara:

           I submit this letter on behalf of both Plaintiff and Defendants.

            As this Court knows, this case was assigned to you for all further proceedings on
   consent of the parties. See Dkt. 41. Prior to the reassignment, the District Court entered
   an order on September 4, 2024, that states: “The parties are to file a letter on the docket
   within 48 hours of either resolving the case or failing to reach a resolution. If the parties
   fail to resolve the case, the letter shall propose a briefing schedule on the parties' respective
   motions.”

          The case has not resolved. The parties have meet-and-conferred and proposed the
   following for the motion on the pleadings by Plaintiff and cross-motion on the pleadings
   by Defendant:

           December 2, 2024: Opening Briefs
           December 23, 2024: Opposition Briefs
           January 6, 2025: Reply Briefs, if any

           In addition, this Court entered the following on July 31, 2024:

                    Minute Entry And Order: A status conference was held on
                    7/29/2024 before Magistrate Judge Sanket J. Bulsara. Counsel for
                    Plaintiff (David Kasell) and counsel for Defendants (Maria Patelis)
                    were present. As discussed at the conference, the deadline to
                    complete discovery is now 11/29/2024, and the last date to take the
                    first step in dispositive motion practice is now 12/27/2024. If the
                    parties agree to consent to Magistrate Judge jurisdiction in this case
                    for all purposes, the parties should file a signed copy of the consent
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                  form (Dkt. No. 2). So Ordered by Magistrate Judge Sanket J.
                  Bulsara on 7/29/2024.(FTR Log #10:37-10:56.) (EM) (Entered:
                  07/31/2024)

   As the parties anticipate summary judgment motions as well, the parties propose the same
   dates above for summary judgment motions: December 2, 2024; December 23, 2024;
   and January 6, 2025.

           Finally, the parties have agreed to exchange expert reports on October 31, 2024.
   As this issue was not specifically addressed in the scheduling order entered on January
   29, 2024, or in the subsequent conference on July 29, 2024, we ask that the Court order
   October 31, 2024, as the date to exchange expert reports.


                                                                               Respectfully,

                                                                               /s/ David Kasell
                                                           Attorney for Plaintiff Kevin Pollack




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